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                          IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF UTAH

 UNITED STATES OF AMERICA,                            MEMORANDUM DECISION AND
                                                      ORDER DENYING DEFENDANT'S
                        Plaintiff,                    MOTION FOR COMPASSIONATE
                                                      RELEASE
 v.

 AARON PRICE,

                        Defendant.                    Case No. 2:17-CR-481 TS

                                                      District Judge Ted Stewart


         This matter is before the Court on Defendant Aaron Price’s Motion for Compassionate

Release. For the reasons discussed below, the Court will deny the Motion.

                                         I. BACKGROUND

         Defendant is currently serving a 36-month sentence for possession of a firearm by a

convicted felon and a consecutive 21-month sentence for violating the terms of his supervised

release in two prior cases that arose from his failure to report to probation after his release from

custody, failure to report to the residential reentry center, and his commission of a new crime.

While in custody, Defendant was the victim of a knife attack in March 2020. Because of the

restrictions and limitations imposed by the Bureau of Prisons due to the COVID-19 pandemic,

Defendant asserts that he has not received adequate medical care for his injuries from that attack.

Defendant seeks release so that he may seek treatment on his own.




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                                         II. DISCUSSION

       “A district court is authorized to modify a Defendant’s sentence only in specified

instances where Congress has expressly granted the court jurisdiction to do so.” 1 18 U.S.C. §

3582(c)(1)(A) allows the Court to modify a term of imprisonment under certain circumstances.

Relevant here,

       the court . . . upon motion of the defendant after the defendant has fully exhausted
       all administrative rights to appeal a failure of the Bureau of Prisons to bring a
       motion on the defendant’s behalf or the lapse of 30 days from the receipt of such a
       request by the warden of the defendant’s facility, whichever is earlier, may reduce
       the term of imprisonment (and may impose a term of probation or supervised
       release with or without conditions that does not exceed the unserved portion of the
       original term of imprisonment), after considering the factors set forth in section
       3553(a) to the extent that they are applicable, if it finds that . . . extraordinary and
       compelling reasons warrant such a reduction.

       The United States Sentencing Commission has issued a policy statement for sentence

reductions under this provision. The policy statement provides that the Court may reduce a term

of imprisonment under § 3582(c)(1)(A) if, after considering the factors under 18 U.S.C. §

3553(a), the Court determines: (1) extraordinary and compelling reasons warrant release; (2) the

defendant is not a danger to the safety of any other person or to the community; and (3) the

reduction is consistent with the policy statement. 2

       The Court finds that Defendant is a danger to the community and his release fails to

comport with the § 3553(a) factors. Therefore, even assuming he has exhausted his

administrative remedies and demonstrated extraordinary and compelling reasons for release, his

Motion must be denied.


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           United States v. Blackwell, 81 F.3d 945, 947 (10th Cir. 1996).
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           U.S.S.G. § 1B1.13.


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       The Sentencing Commission directs the Court to consider whether Defendant is a danger

to the safety of any other person or to the community, as provided in 18 U.S.C. § 3142(g). To

determine whether a Defendant is a danger to the safety of any other person or the community

under this provision, this Court considers the following factors:

       (1) The nature and circumstances of the offense charged, including whether the
       offense . . . involves . . . a controlled substance, [or] firearm . . . ;
       (2) the weight of the evidence against the person;
       (3) the history and characteristics of the person, including—
       (A) the person’s character, physical and mental condition, family ties, employment,
       financial resources, length of residence in the community, community ties, past
       conduct, history relating to drug or alcohol abuse, criminal history, and record
       concerning appearance at court proceedings; and
       (B) whether, at the time of the current offense or arrest, the person was on probation,
       on parole, or on other release pending trial, sentencing, appeal, or completion of
       sentence for an offense under Federal, State, or local law; and
       (4) the nature and seriousness of the danger to any person or the community that
       would be posed by the person’s release . . . . 3

       Defendant’s conduct here and his prior history demonstrate that he is a risk to the

community. Defendant has been before this Court three times. In this case, Defendant was

charged with being a felon in possession of a firearm. Defendant was found in possession of a

stolen firearm, various controlled substances, and currency. Defendant admitted to selling

narcotics and possessing the firearm for protection. At the time of his arrest, Defendant had an

outstanding warrant for failure to comply with the terms of supervision on his prior federal cases.

In his first federal case, Defendant was charged with being a felon in possession of a firearm and

escape. Defendant’s second federal case was for escape after Defendant failed to return to the

residential reentry center. As stated, Defendant was in violation of the terms of his supervised




       3
           18 U.S.C. § 3142(g).


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release in these two cases when he committed the offense in this case. Defendant has a lengthy

history of failing to comply with court orders, which includes escape convictions in both the state

and federal systems. He also has a long criminal history dating back to when he was very young,

and his criminal conduct has continued largely unabated. Many of Defendant’s convictions are

theft and drug-related, but he also has a penchant for possessing weapons. Additionally,

Defendant has incurred disciplinary action while in custody.

       The Court is certainly sympathetic to Defendant’s concerns, but he has failed to

demonstrate that he does not pose a danger or that his release is consistent with the § 3553(a)

factors. Under the § 3142(g) factors, Defendant presents a danger to the community. Continued

confinement is also necessary to reflect the seriousness of this offense, promote respect for the

law in this Defendant and others, provide just punishment, afford deterrence, and protect the

public. Based upon this, the Defendant’s request for release will be denied.

                                       III. CONCLUSION

       It is therefore

       ORDERED that Defendant’s Motion for Compassionate Release (Docket No. 34) is

DENIED.

       DATED this 6th day of November, 2020.

                                              BY THE COURT:



                                              Ted Stewart
                                              United States District Judge




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